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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


                                                     Case No: 1:21-cv-135

 In re: Clearview AI, Inc., Consumer Privacy         Judge Sharon Johnson Coleman
 Litigation
                                                     Magistrate Judge Maria Valdez



                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE THAT on Wednesday, March 27, 2024 at 10:00 a.m., or as
soon thereafter as counsel may be heard, we shall appear before the Honorable Sharon Johnson
Coleman, or any other judge sitting in her stead in Courtroom 1241, of the United States District
Court for the Northern District of Illinois, Eastern Division, and present Macy’s Retail Holdings,
Inc.’s Motion to Withdraw the Appearance of Attorney Andrew S. Murphy as Counsel for
Defendants Macy’s, Inc., Macy’s Retail Holdings, Inc., now known as Macy’s Retail Holdings,
LLC, and Macy’s Corporate Services, Inc.


 Dated: March 19, 2024                               Respectfully submitted,

                                                     MACY’S RETAIL HOLDINGS, INC.
                                               By: /s/ Andrew S. Murphy

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